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                                                       UNITED STATES DISTRICT COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                        ~   Eastern Division
                                                       Plaintiff, ~
                               vs.                                ~   CaseNumber. 5:19-CR-00151-DSF-2              PSA Warrant
                                                                  ~   Initial App. Date: 06/03/2019                Custody
 Cassandra Nicole Gonzales                                        ~   Initial App. Time: 2:00 PM




                                                     Defendant. ~ Date Filed: 06/03/2019
                                                                ~ Violation: 18 USC Section 3148(e)(31

                                                                  ~ CourtSmartl Reporter:      /~

   PROCEEDINGS HELD BEFORE UNITED STATES                          ~                       CALENDAR/PROCEEDINGSSHEET
       MAGISTRATE JUDGE: Kenlv Kiva Kato                          ~                        LOCAL/OUT-OF-DISTRICT CASE



    PRESENT:                         Lopez, John                      ^ ~ ~ C~            ~~t5~~                              None
                                                                      ~b
                                 Deputy C[erk              Assistant U.S. Attorney                                    /nterpreter/Language
            (~ I          L APPEARANCE NOT HELD -CONTINUED
                   efen    informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                    reliminary hearing OR ~ removal hearing /Rule 20.
             Defendant states true name 1.~as charged ~.....~ is
          [~ Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are directed
             to file all future documents reflecting the true name as stated on the record.
             Defendant advised of consequences of false statement in mancial affidavit. n Financial Affidavit ordered SEALED.
            ~!/~ Attorney: John Aquilina, Retained ❑Appointed            Prev. Appointed ~~ Poss. Contribution (see separate order)
            ~~~~ Special appearance by:
            ;~.~-~~Government's request for detention is: _. GRANTED ~ DENIED ❑WITHDRAWN ~.~ CONTINUED
             i!fUefendant is ordered: ...... Permanently Detained ~ Temporarily Detained (see separate order).
                j BAIL FIXED AT $                                  (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
               G     nment moves to UNSEAL ComplainUIndictmenUlnforma[ion/Entire Case: ❑GRANTED 0 DENIED
                reliminary Hearing waived.
             Class B Misdemeanor ❑Defendant is advised of maximum penalties
          [~ This case is assigned to Magistrate Judge                                                 .Counsel are directed to contact the clerk for
             the setting of all further proceedings.
            ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
              District Judge                                                for the setting of further proceedings.
              Preliminary Hearing set for                      at 4:30 PM
            ~ PIA set for:                     at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
           ~ Government's motion to dismiss case/defendant                                       only: ❑GRANTED ❑DENIED
           0Defendants motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
           U Defendant executed Waiver of Rights. ~ Process received.
             Court ORDERS defendant Held to Answer to                                District of
             ~ Bond to transfer, if bail is posted. Defendant to report on or before
                     Warrant of removal and final commitment to issue. Date issued:                             By CRD:
                 3~ Warrant of removal and final commitment are ordered stayed until
           [~ Case continued to (Date)                                    (Time)                                     AM / PM
                Type of Hearing:                             Before Judge                                           /Duty Magistrate Judge.
            I__ Pryy~eedings will be held in the ❑Duty Courtroom                     ❑Judge's Courtroom
              Defendant committed to the custody of the U.S. Marshal L~ Summons: Defendant ordered to report [o USM for processing.
              A bstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
             Abstract of Order to Return Defendant to Court on Next Court Day(M-20) issued. Original forwarded to USM.
           ~ RELEASE ORDER NO:
               "crier 1~+~~~~u                ~     ~Ssurc( TS              G►e~e        r~voK-~~~.
                                     PSA L1 USPO                          FINANCIAL                         RADY
                                                                                                             Deputy Clerk Initials ~-b
                                                                                                                                :
                                                                                                                                ~




http://156.131.20.221/cacd/CrimIntakeCal.NSF/1222c8c990b1f46c882571d2006f1655?Ope... 6/3/2019
